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              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OHIO
                        EASTERN DIVISION


 Nathan Roberts and Freedom Truck
 Dispatch LLC, on behalf of themselves
 and all others similarly situated,

                        Plaintiffs,
                                                 Case No. 1:23-cv-01597
 v.

 Progressive Preferred Insurance
 Company, et al.

                        Defendants.


              AFFIDAVIT OF GENE P. HAMILTON IN SUPPORT OF
                  MOTION FOR ADMISSION PRO HAC VICE
      Gene P. Hamilton appeared in person before me today and stated under oath:

      1.   My name is Gene P. Hamilton. I am Vice President and General Counsel at

America First Legal Foundation.

      2.   My business address is 611 Pennsylvania Ave SE #231, Washington, DC,

20003.

      3.   I am a member in good standing of the Virginia State Bar, the State Bar of

Georgia, and the D.C. Bar.

      4.   I have attached a current certificate of good standing from the D.C. Bar, dated

November 3, 2023.

      5.   I was admitted to the Virginia State Bar on October 20, 2010, the State Bar of

Georgia on May 18, 2022, and the D.C. Bar on April 15, 2022.

      6.   My Virginia bar-identification number is 80434, my Georgia bar-identifica-

tion number is 516201, and my D.C. Bar identification number is 1619548.




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    7.   I have never been disbarred or suspended from practice before any court,

department, bureau or commission of any State or the United States. Nor have I been

reprimanded by any court, department, bureau or commission pertaining to my con-

duct or fitness as a member of the bar.

    8.   I respectfully request pro hac vice admission in this matter.



    This concludes my sworn statement. I swear under penalty of perjury that, to the

best of my knowledge, the facts stated in this affidavit are true and complete.




                                             Gene P. Hamilton


Subscribed and sworn to me
this ______
      3rd day of November, 2023
By Gene$P$Hamilton.             Notary$Venue:$State$of$Texas,$County$of$Harris




notary Public,$State$of$Texas

                                Notarized$online$using$audio-video$communication




Hamilton affidavit                                                               Page 2 of 2
